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                           DECLARATION OF ADELITA OREFICE
                I, Adelita Orefice, declare as follows:

        1.      I am a resident of the State of Connecticut. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except for those matters stated upon

 information and belief; as to those matters, I believe them to be true. If called as a witness, I

 could and would testify competently to the matters set forth below.

        2.      I am currently employed by the State of Connecticut Department of Public Health

 (hereinafter DPH) as Deputy Commissioner and Acting Chief Operating Officer.

        3.      As the Acting Chief Operating Officer, I direct, oversee, and lead DPH staff

 responsible for all DPH contracts, grants, payments, and budgeting. In this position I also direct,

 oversee, and lead the DPH Project Management Office, Customer Service & Local Health

 Office, and Internal Audit Office and am responsible for coordinating with our embedded

 information technology and labor relations partners.

        4.      As the Deputy Commissioner I am a member of and work with DPH’s leadership

 team to help develop and execute the strategic mission of DPH, as determined by the

 Commissioner. I also provide direct leadership and direction to the Health Statistics &

 Surveillance Section, Public Health Laboratory, Healthcare Quality & Safety Branch,

 Operational & Support Services, and Infectious Disease Branch. Finally, I am the leadership

 point of contact for several offices within DPH’s Office of the Commissioner, including the Data

 Management and Governance Office, the Legal Office, the Office of Policy, Legislation &

 Regulatory Affairs, and the Senior Advisor for Long Term Care.

        5.      On March 25, 2025, without any prior notice or indication, DPH received three

 (3) award terminations from the U.S. Department of Health and Human Services, Centers for

 Disease Control and Prevention (hereinafter CDC) indicating that numerous grant awards were

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 being terminated, effective immediately. A true and correct copy of the grant award terminations

 are attached as Exhibit A.

        6.      The termination notices all indicated that such terminations were “for cause”

 based on the end of the COVID pandemic, rather than failure of DPH to follow the terms or

 conditions of the grants. Each award termination uses the same identical form language stating

 that the end of the COVID pandemic provides cause to terminate the grant. Descriptions of each

 award and the effects of these terminations follow.

        7.      DPH relied and acted upon its expectation and understanding that HHS would

 fulfill its commitment to provide each of these grant awards in the execution of contracts,

 purchase of goods and services, and the hiring of staff.



 A.    Epidemiology and Laboratory Capacity (ELC) Grants

        8.      Since 1995, CDC has been providing ELC funds to DPH as a cooperative

 agreement. The purpose of these funds is to help states build laboratory and disease tracking

 capacity.

        9.      In 2020 and 2021, during the COVID-19 Pandemic, CDC awarded additional

 ELC grants to states, including Connecticut, in an effort to help states build infrastructure needed

 to respond to the ongoing pandemic and prepare for future public health emergencies.

        10.     While the funds were initially awarded to battle COVID, CDC recognized that

 most states lacked the disease surveillance and laboratory infrastructure to maintain a pandemic

 response, so states were encouraged and allowed to invest these funds in strengthening these

 capacities.




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        11.     ELC funds that are the subject of the March 24, 2025 termination fully or partially

 fund fifty-one (51) staff positions within DPH.

        12.     ELC awards that are the subject of the March 24, 2025 termination total

 $397,615,844. Of that, approximately $240.7 million has been expended on completed projects.

 Roughly $156.9 million remains, which was allocated to ongoing efforts which will cease under

 these terminations.

        13.     These ELC funds were used for data system infrastructure improvements,

 increasing DPH’s capacity to respond to infectious diseases, and investing in DPH’s laboratory

 testing capacity, with a majority of such funds used to create or upgrade electronic data systems

 that support: infectious disease and symptom surveillance; the state public health laboratory; and

 access to vital records.



 a)    Data System Infrastructure Improvements

       i) Infectious Disease and Symptom Surveillance

        14.      DPH monitors the emergence and spread of disease in two ways. First, by

 monitoring symptoms (syndromic surveillance) whereby DPH receives near real-time

 information on why people are seeking care in emergency rooms, such as opioid overdoses,

 headache, firearm injury, etc. The second is by tracking the spread and prevalence of known

 diseases throughout the state (disease surveillance).

        15.     To fortify these capabilities, DPH utilized ELC funds for upgrades to the data

 systems for infectious disease and symptom surveillance. Specifically, DPH: (a) purchased

 licenses for Casetivity, a system accessible to providers to report results of tests done in offices

 for flu, COVID-19, and child blood lead levels; (b) purchased licenses for PowerBI, software



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 that allowed DPH to share real time data reports with stakeholders, including reports on nursing

 home capacity, hospital bed capacity, and flu/COVID/RSV/mpox rates; (c) developed a portal to

 provide local health departments with line level reportable disease data; (d) implemented an

 electronic case reporting system for providers to report to DPH to support case management and

 reporting; and (e) invested in cloud servers to support modernization efforts that have improved

 staff workflows.

        16.     The impacts of the loss of the ELC funding for data system upgrades for

 infectious disease and symptom surveillance, include:

              Point of care testing results will no longer be sent to DPH.

              DPH will be unable to share real-time reports on healthcare capacity or disease

               spread.

              Local health departments will be less able to respond to infectious disease

               outbreaks.

              DPH will lose access to cloud-based services that will harm the department’s

               ability to generate and access routine analytics.

              DPH will no longer receive automated disease reports from providers. Instead,

               providers will be required to fax reportable disease case reports to DPH.

              DPH will not be able to update our data exchange platform to a system which 90%

               of states currently use.

              Newborn screening test reporting critical to timely treatment interventions will

               remain a manual process.

              The active project to upgrade DPH’s syndromic surveillance system is halted.




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                DPH will no longer have a syndromic surveillance platform. This prevents DPH

                 from being able to know if there is a new syndrome or a disease we know (e.g.,

                 respiratory illness) with which people are presenting to emergency departments.

                DPH will lose access to information on emergency room trends in the state,

                 limiting DPH’s ability to respond to and alert partners and local health of

                 emergencies.

                DPH will no longer be able to assist with measurement of healthcare capacity (e.g.,

                 high rates of ED visits and potential impacts to hospitals and surrounding

                 healthcare systems).



       ii)       State Public Health Laboratory

         17.      Among its other responsibilities, DPH is responsible for running the state public

 health laboratory (“State Lab”). The State Lab provides extensive clinical and environmental

 testing services for the benefit of the people of Connecticut, including, but not limited to, clinical

 support testing (i.e., laboratory testing to assist providers make diagnoses); (2) environmental

 contaminate detection (i.e., testing to identify contaminates like lead or PFAS in submitted lead

 or PFAS in submitted samples); and (3) newborn screenings (i.e., laboratory screening tests for

 genetic diseases that are performed for every newborn in the state).

         18.     A data modernization initiative at the State Lab was long overdue. The State Lab

 has an outdated electronic data system that struggles to communicate with other systems,

 including electronic health record systems, and is inefficient. The ELC funds for upgrades to the

 State Lab’s data systems were used toward the goal of creating a modern informatics system to




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 support the clinical support testing, environmental contaminate detection program, and newborn

 screening functions of the State Lab.

           19.      This upgrade to the State Lab’s data systems would allow for real time ordering of

 testing and the automated distribution of test results. To date, the ELC funding has been used to

 purchase the informatics system and build the infrastructure to support it; the fiber optics

 installation has been selected and approved; and contractors have been hired to work on the

 implementation of the system.

           20.      The impacts of the loss of the ELC funding for the State Lab, include:

                The data system upgrades will not be completed and tens of millions of dollars spent

                 to date will be wasted.

                Lab tests will not be completed or reported timely, including newborn screening tests.

                Fiber optics installation will not be completed, which will degrade the state’s ability

                 to process and analyze genomic data.



         iii)       Vital Records

           21.      Like the State Lab’s data management systems, DPH’s vital records systems are

 similarly in need of modernization. The goal for modernization of vital records data systems was

 to transition from a paper-based registration to an electronic registration system for both birth

 and death registries and ultimately combining the two registries into a single registry. This would

 allow for real time data exchange with the CDC. The ELC funds for this data modernization

 project have been used to create and implement the electronic death registry and a 24/7 help

 desk.




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        22.        The impacts of the loss of the ELC funding for data system upgrades at the state

 lab, include:

                   Inability to implement the electronic birth registry.

                  Death and birth registries will not be combined.

                  DPH is unable to hire staff to input data into the death registry.

                  DPH is unable to operate the 24/7 help desk which is utilized by funeral directors,

                   healthcare organizations, and local registrars to report and verify deaths.

                  The ongoing project to improve data exchange with chief medical examiner will

                   be halted.

                  The ongoing project to create real time exchange of data with CDC is halted.




 b)    Infectious Disease Capacity

        23.        In addition to the ELC funds for data modernization projects, ELC funds were

 used to expand infectious disease and laboratory capacity.

        24.        ELC funds have been used to hire additional staff to conduct syndromic

 surveillance and wastewater testing, to receive electronic data reports at the state lab and

 automate those reports, and to support local health departments during public health outbreaks

 like mpox and avian influenza. In addition, this funding was used to provide innovative and

 effective infection prevention and control training for healthcare workers to strengthen

 healthcare and improve patient safety, and to educate nursing home staff on the risks of COVID-

 19 and how to protect residents and themselves.

        25. The impacts of the loss of this funding include:

          •       DPH will lose staff who respond to outbreaks.


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          •   DPH will lose routine infectious disease monitoring capabilities that inform

              healthcare providers and the public on disease spread in their communities.

          •   DPH will lack of staff to adequately provide data and recommendations to

              healthcare providers on disease outbreaks or healthcare associated infections.



 c)     Laboratory Capacity
        26.      In addition to halting the data modernization project at the State Lab, the cuts to

 ELC funding will also result in degradation of the State Lab’s ability to conduct genomic

 sequencing for viruses and bacteria and susceptibility testing for pathogens patients acquire in

 healthcare settings as the cuts will result in a loss of State Lab staff. This reduction in State Lab

 staff will also reduce DPH’s ability to provide testing support in emergency outbreak situations,

 including avian influenza, Ebola, and resistant healthcare associated infections.



 B.    Grants for Immunization Activities

        27.     In addition to the ELC grants, during the COVID-19 Pandemic, CDC issued

 multiple funding awards to DPH for the purpose of supporting immunization efforts in the state.

 On March 24, 2025, CDC notified DPH that eight of those award grants had been canceled. As

 of now, approximately $65.6 million of those award funds has been expended on completed

 projects. Roughly $13.3 million remains, which was allocated to ongoing efforts that will cease

 due to this termination.

        28.     In addition to helping the state design and implement a vaccination plan for

 COVID-19, these funds were intended to enhance the state’s influenza vaccination program, and

 to expand vaccination programs for underserved populations.



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        29.      The canceled immunization awards fully or partially funded eight (8) staff

 positions within DPH.



 a)    Local Health Immunization Programs

        30.      With this CDC immunization funding, DPH entered into 43 contracts with local

 health departments to support staff and partnerships that enhance vaccination capacity, access

 equity, and confidence throughout the state. Vaccination clinics were established and mobile

 outreach was conducted in underserved neighborhoods. Educational materials and social media

 campaigns were developed and distributed to spread the message about the importance of

 vaccinations.

        31.      The abrupt cancelation of the CDC immunization grants has forced DPH to issue

 stop work notices to each local health department that was funding immunization programs

 through these awards and this loss of funding will weaken the state’s ability to respond to

 outbreaks, such as measles.



 b)    Connecticut’s Immunization Information System (CT WiZ)

        32.      Connecticut’s immunization information system, known as CT WiZ, is an

 electronic system that maintains accurate, complete, and timely immunization records for all

 Connecticut residents. It provides real-time access to official records to healthcare providers,

 schools, and the public, supporting vaccine administration, inventory management, and outbreak

 response. Initially, CT WiZ only captured data on childhood vaccination; however, the database

 was later expanded to include all adult vaccination in addition to childhood vaccination.




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           33.    The immunization awards recently canceled by CDC were used to implement a

 portal that allows the public to access their immunization records, including mobile phone record

 download capability. The funds were also used to make enhancements to the system to ensure

 accuracy, create interfaces with other systems including interstate data exchange, and provide a

 real-time public facing dashboard on vaccination rates in the state.

           34.    The loss of this funding means that automated reports for overdue vaccines may

 no longer be sent to providers, potentially decreasing vaccination rates and creating challenges

 for compliance with vaccine schedules. Moreover, work on enhancements to the vaccine

 management module, data quality improvements, data connection with Medicaid, and additional

 data modernizations have stopped.



 C.       Health Disparities Grant

           35.       In 2021, the CDC awarded DPH $17,394,074 through the National Initiative to

 Address COVID-19 Health Disparities Among Populations at High-Risk and Underserved. The

 intent of the investment was to reduce disparities, improve data collection, strengthen public

 health infrastructure, and mobilize community partnerships. The grant supported over two dozen

 equity-focused initiatives across the state. As of now, approximately $12.9 million has been

 expended on completed projects. Roughly $4.5 million remains, which was allocated to ongoing

 efforts set to continue through 2026.

           36.    The canceled health disparities awards fully or partially fund three (3) staff

 positions within DPH.

           37.    The impacts of the loss of this funding include:

      •    Rural health departments will lose essential financial support.



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    •    Consultant work on data analytics and Health Professionals Shortage Areas scoring

         improvements in the primary care office will cease.

    •    Projects with the Connecticut State Department of Education will halt, including parent

         trust after school programs and the teen parent equity initiative.

    •    DPH will be unable to fund the Family Bridge program which funds visits from

         healthcare practitioners to new mothers.

         38.     The termination of the grant awards detailed in this declaration will cause

 immediate and lasting harm to DPH, and the people of the State of Connecticut, and will impede

 DPH’s ability to protect the public health.




        I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.




                 Executed on March 28, 2025, at Hartford, CT.




                                                _____________________________________
                                                       Adelita Orefice, Esq., M.P.M.




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                   EXHIBIT A
          Case 1:25-cv-00121-MSM-LDA Document 4-13 Filed 04/01/25 Page 13 of 27 PageID
                                           #: 1689SERVICES
                DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                  6 NU50CK000524-05-13
                Centers for Disease Control and Prevention
                                                                                                                  NU50CK000524
                                                                                                                                  03/24/2025



Recipient nformation                                                             Federal ward Information
   Recipient Name
   DEPARTMENT OF PUBLIC HEALTH                         6 NU50CK000524-05-13
                                                                                                              (FAIN)
   CONNECTICUT
                                                       NU50CK000524
   410 Capitol Ave
   Hartford, CT 06106-1367                             301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
   [NO DATA]
                                                                                  Title
                                 Recipient             Epidemiology and Laboratory Capacity for Infectious Diseases (ELC) - Building and Strengthening
   01                                                  Epidemiology,Laboratory and Health Information Systems Capacity in State and Local Health Departments

   1066000798A9
                                                       93.323
   066000798
                                                                                        Title
                                         (DUNS)        Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   807853791

   RFZKKT5RU3F8                                        Administrative Action

                                                       No
   Dr. Lynn E Sosa
   Acting State Epidemiologist                                                               Award
   lynn.sosa@ct.gov
                                                                                Date      08/01/2023                 03/24/2025
   860-509-7723
                                                                Amount of Federal Funds Obligated by                                                     $0.00
                                                                                                                                                         $0.00
   Mr. Chukwuma Amechi
                                                                                                                                                         $0.00
   Chief, Fiscal Services
                                                                                                                                                $158,399.00
   Chukwuma.Amechi@ct.gov
   860-509-7233                                                                                                                                 $517,314.00

                                                                                                                                               $7,390,347.00
Federal gency Information
                                                                                                                                                         $0.00
 CDC Office of Financial Resources
                                                                                                                                               $7,390,347.00
9. Awarding gency ontact nformation
                                                                                                 08/01/2019                 03/24/2025
 Whitney Dade
 Grants Management Specialist
                                                                                                                                            $490,221,894.04
 zmm8@cdc.gov
 4044983038
                                                  28
10.Program fficial ontact nformation                    ADDITIONAL COSTS
 Andrea Grangent
                                                  29                                      Signature
 Program Officer
                                                        Percy Jernigan
 qqd0@cdc.gov
 4044984722




 Department Authority
         Case 1:25-cv-00121-MSM-LDA
                                  Document 4-13 Filed 04/01/25                                Page 14 of 27 PageID
                                        #: 1690SERVICES
             DEPARTMENT OF HEALTH AND HUMAN
             Centers for Disease Control and Prevention                                          6 NU50CK000524-05-13
                                                                                                 NU50CK000524
                                                                                                              03/24/2025



Recipient nformation                          3 .
                                              (Excludes Direct Assistance)
                                              I. Financial Assistance from the Federal Awarding Agency Only
 DEPARTMENT OF PUBLIC HEALTH                  II. Total project costs including grant funds and all other financial participation
 CONNECTICUT
                                                                                                                      $4,225,709.00
 410 Capitol Ave
                                                        Fringe Benefits                                               $3,110,602.00
 Hartford, CT 06106-1367
 [NO DATA]                                                  TotalPersonnelCosts                                       $7,336,311.00
                                                        Equipment                                                      $158,399.00

 01                                                     Supplies                                                        $18,374.00
                                                        Travel                                                               $0.00
 1066000798A9
                                     Dat                Construction                                                         $0.00
 066000798                                          . Other                                                             $44,121.00
Universal Numbering System (DUNS)
                                                . Contractual                                                                $0.00
 807853791
Recipient’s nique Entity dentifier             j.                DIRECT                                              $7,557,205.00
 RFZKKT5RU3F8
                                                    .                                                                  $508,855.00

                                                .                                                                    $8,066,060.00
 Cooperative Agreement
                                                        Federal Share                                                $8,066,060.00

 Other                                                  Non-Federal Share                                                    $0.00


 3 .
Case 1:25-cv-00121-MSM-LDA
                      Document 4-13 Filed 04/01/25 Page 15 of 27 PageID
                            #: 1691 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NU50CK000524-05-13
  Centers for Disease Control and Prevention
                                                       NU50CK000524
                                                                03/24/2025
    Case 1:25-cv-00121-MSM-LDA     Document 4-13   Filed 04/01/25   Page 16 of 27 PageID
                                         #: 1692
                               AWARD ATTACHMENTS
DEPARTMENT OF PUBLIC HEALTH CONNECTICUT                              6 NU50CK000524-05-13
1. REVISED: TERMS AND CONDITIONS
Case 1:25-cv-00121-MSM-LDA   Document 4-13   Filed 04/01/25   Page 17 of 27 PageID
                                   #: 1693
          Case 1:25-cv-00121-MSM-LDA Document 4-13 Filed 04/01/25 Page 18 of 27 PageID
                                           #: 1694SERVICES
                DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                    6 NH23IP922602-05-10
                Centers for Disease Control and Prevention
                                                                                                                    NH23IP922602
                                                                                                                                    03/24/2025



Recipient nformation                                                              Federal ward Information
   Recipient Name
   DEPARTMENT OF PUBLIC HEALTH                         6 NH23IP922602-05-10
                                                                                                                (FAIN)
   CONNECTICUT
                                                       NH23IP922602
   410 Capitol Ave
   Hartford, CT 06106-1367                             Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   [NO DATA]                                           amended.
                                                                                   Title
                                 Recipient             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   01

   1066000798A9
                                                       93.268
   066000798
                                                                                         Title
                                         (DUNS)        Immunization Cooperative Agreements
   807853791

   RFZKKT5RU3F8                                        Administrative Action

                                                       No
   Ms. Deepa Mavani
   deepa.mavani@ct.gov                                                                        Award
   860-509-7929
                                                                                 Date      07/01/2023                  03/24/2025

                                                                Amount of Federal Funds Obligated by                                                      $0.00
                                                                                                                                                          $0.00
   Mr. Chukwuma Amechi
                                                                                                                                                          $0.00
   Chief, Fiscal Services
                                                                                                                                                $18,933,263.00
   Chukwuma.Amechi@ct.gov
   860-509-7233                                                                                                                                    $986,983.00

                                                                                                                                                $16,498,105.00
Federal gency Information
                                                                                                                                                          $0.00
 CDC Office of Financial Resources
                                                                                                                                                $16,498,105.00
9. Awarding gency ontact nformation
                                                                                                   07/01/2019                 03/24/2025
 Wayne Woods
 kuv1@cdc.gov
                                                                                                                                               $117,704,376.00
 770-488-2948


                                                  28
10.Program fficial ontact nformation                    ADDITIONAL COSTS
 Ms. Randi Tolstyk
                                                  29                                       Signature
 Public Health Advisor
                                                        Percy Jernigan
 kkq9@cdc.gov
 770-488-5114




 Department Authority
         Case 1:25-cv-00121-MSM-LDA
                                  Document 4-13 Filed 04/01/25                                Page 19 of 27 PageID
                                        #: 1695SERVICES
             DEPARTMENT OF HEALTH AND HUMAN
             Centers for Disease Control and Prevention                                          6 NH23IP922602-05-10
                                                                                                 NH23IP922602
                                                                                                              03/24/2025



Recipient nformation                          3 .
                                              (Excludes Direct Assistance)
                                              I. Financial Assistance from the Federal Awarding Agency Only
 DEPARTMENT OF PUBLIC HEALTH                  II. Total project costs including grant funds and all other financial participation
 CONNECTICUT
                                                                                                                      $4,714,298.00
 410 Capitol Ave
                                                        Fringe Benefits                                               $4,520,512.00
 Hartford, CT 06106-1367
 [NO DATA]                                                  TotalPersonnelCosts                                       $9,234,810.00
                                                        Equipment                                                            $0.00

 01                                                     Supplies                                                       $177,685.00
                                                        Travel                                                         $119,486.00
 1066000798A9
                                     Dat                Construction                                                         $0.00
 066000798                                          . Other                                                           $8,250,595.00
Universal Numbering System (DUNS)
                                                . Contractual                                                        $16,650,202.00
 807853791
Recipient’s nique Entity dentifier             j.                DIRECT                                             $34,432,778.00
 RFZKKT5RU3F8
                                                    .                                                                $1,985,573.00

                                                .                                                                   $36,418,351.00
 Cooperative Agreement
                                                        Federal Share                                               $36,418,351.00

 Other                                                  Non-Federal Share                                                    $0.00


 3 .
Case 1:25-cv-00121-MSM-LDA
                      Document 4-13 Filed 04/01/25 Page 20 of 27 PageID
                            #: 1696 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NH23IP922602-05-10
  Centers for Disease Control and Prevention
                                                       NH23IP922602
                                                                 03/24/2025
    Case 1:25-cv-00121-MSM-LDA   Document 4-13   Filed 04/01/25   Page 21 of 27 PageID
                                       #: 1697
                            AWARD ATTACHMENTS
DEPARTMENT OF PUBLIC HEALTH CONNECTICUT                             6 NH23IP922602-05-10
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-13   Filed 04/01/25   Page 22 of 27 PageID
                                   #: 1698
           Case 1:25-cv-00121-MSM-LDADocument 4-13 Filed 04/01/25 Page 23 of 27 PageID
                                           #: 1699SERVICES
                DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                    6 NH75OT000067-01-05
                Centers for Disease Control and Prevention
                                                                                                                    NH75OT000067
                                                                                                                                    03/24/2025



Recipient nformation                                                             Federal ward Information
   Recipient Name
    DEPARTMENT OF PUBLIC HEALTH                        6 NH75OT000067-01-05
                                                                                                                 (FAIN)
    CONNECTICUT
                                                       NH75OT000067
    410 Capitol Ave
    Hartford, CT 06106-1367                            317(K)(2) OF PHSA 42USC 247B(K)(2)
    [NO DATA]
                                                                                     Title
                                 Recipient             Addressing COVID-19 Health Disparities Among High-Risk and Underserved Populations in Connecticut
   01

   1066000798A9
                                                       93.391
   066000798
                                                                                         Title
                                         (DUNS)        Activities to Support State, Tribal, Local and Territorial (STLT) Health Department Response to Public
   807853791                                           Health or Healthcare Crises

   RFZKKT5RU3F8                                        Terminate

                                                       No
    Ms. Lisa Morrisey
    Deputy Commissioner                                                                        Award
    lisa.morrissey@ct.gov
                                                                                 Date        06/01/2021                03/24/2025
    860.509.7101
                                                                Amount of Federal Funds Obligated by                                                      $0.00
                                                                                                                                                          $0.00
    Mr. Chukwuma Amechi
                                                                                                                                                          $0.00
    Chief, Fiscal Services
                                                                                                                                                          $0.00
    Chukwuma.Amechi@ct.gov
    860-509-7233                                                                                                                                          $0.00

                                                                                                                                                $17,394,074.00
Federal gency Information
                                                                                                                                                          $0.00
 CDC Office of Financial Resources
                                                                                                                                                $17,394,074.00
9. Awarding gency ontact nformation
                                                                                                    06/01/2021                03/24/2025
 Mr. Derick Wheeler , II
 Grants Management Specialist
                                                                                                                                                $17,394,074.00
 tie2@cdc.gov
 678-475-4972
                                                  28
10.Program fficial ontact nformation                    ADDITIONAL COSTS
 Dr. Marie Downer
                                                  29                                         Signature
 Program Officer
                                                        Mrs. Erica Stewart
 mld8@cdc.gov
                                                        Team Lead, Grants Management Officer
 404-498-0609




 Department Authority
         Case 1:25-cv-00121-MSM-LDA   Document 4-13 Filed 04/01/25                                Page 24 of 27 PageID
                                            #: 1700SERVICES
                 DEPARTMENT OF HEALTH AND HUMAN
                 Centers for Disease Control and Prevention                                          6 NH75OT000067-01-05
                                                                                                     NH75OT000067
                                                                                                                  03/24/2025



Recipient nformation                              3 .
                                                  (Excludes Direct Assistance)
                                                  I. Financial Assistance from the Federal Awarding Agency Only
 DEPARTMENT OF PUBLIC HEALTH                      II. Total project costs including grant funds and all other financial participation
 CONNECTICUT
                                                                                                                           $751,158.00
 410 Capitol Ave
                                                            Fringe Benefits                                                $684,004.00
 Hartford, CT 06106-1367
 [NO DATA]                                                      TotalPersonnelCosts                                       $1,435,162.00
                                                            Equipment                                                            $0.00

 01                                                         Supplies                                                          $2,160.00
                                                            Travel                                                            $1,812.00
 1066000798A9
                                       Dat                  Construction                                                         $0.00
 066000798                                              . Other                                                            $833,532.00
Universal Numbering System (DUNS)
                                                    . Contractual                                                        $14,820,945.00
 807853791
Recipient’s nique Entity dentifier                 j.                DIRECT                                             $17,093,611.00
 RFZKKT5RU3F8
                                                        .                                                                  $300,463.00

                                                    .                                                                   $17,394,074.00
 Project Grant
                                                            Federal Share                                               $17,394,074.00

 Other                                                      Non-Federal Share                                                    $0.00


 3 .
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                            #: 1701 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NH75OT000067-01-05
  Centers for Disease Control and Prevention
                                                       NH75OT000067
                                                                03/24/2025
    Case 1:25-cv-00121-MSM-LDA   Document 4-13   Filed 04/01/25   Page 26 of 27 PageID
                                       #: 1702
                            AWARD ATTACHMENTS
DEPARTMENT OF PUBLIC HEALTH CONNECTICUT                            6 NH75OT000067-01-05
1. Terms
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                                   #: 1703
